






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00013-CR







Quintin Joseph Carruthers, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 56888, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



After he pleaded guilty, appellant Quintin Joseph Carruthers was convicted by
the&nbsp;trial court of burglary of a habitation and placed on community supervision.  See Tex. Penal
Code&nbsp;Ann. § 30.02 (West 2003).  The State later moved to revoke supervision, and appellant pleaded
true to the allegations.  The court revoked supervision and imposed sentence of ten years'
imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The order revoking community supervision is affirmed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Waldrop and Henson

Affirmed

Filed:   November 29, 2007

Do Not Publish


